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                                       UNITED STATES DISTRICT COUR'I~~
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                                     CENTRAL DISTRICT OF CALIFORNIA                  ~L ~ ~ ;~~~r ~~~ ~~~~;~~q r

                                                              CASE NUM~R:
UNITED STATES OF AMERICA
                                                  PLAINTIFF
                  V.

A~r~ ate. ~q~.~l tnotP.~4~+~Ci                                       REPORT COMMENCING CRIMINAL
                                                                                     ACTION
USMS#                                            DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1• Date and time of arrest: ~~~r~~
                                ~ I ~ (~ ~~u;~                                ❑ AM       ~]PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
   any other preliminary proceeding:     ~ Yes       ~ No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):    (~ Yes       ❑ No
                                                                              7~
4. Charges under which defendant has been booked:




5. Offense charged is a:   ~ Felony        ❑Minor Offense          ❑Petty Offense          ❑Other Misdemeanor

6. Interpreter Required:   ~ No      ❑Yes         Language:     ~C,~(+~ ~~~

7• Year of Birth:~~~

8. Defendant has retained counsel:       ~ No
      Yes        Name:                                               Phone Number:


9• Name of Pretrial Services Officer notified:     ~,~~

10. Remarks (if any): ~~ ~
                    ~  ,

11. Name: ~?~,Y ~2~L
                   c~                                   (please print)

12. Office Phone Number: ~~~D ~ 337• ~ l3~~                              13. Agency:      ~~L

14. Signature:                                                           15. Date:      ~ ~~~~l~


CR-64(05/18)                            REPORT COMMENCING CRIMINAL ACTION
